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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
Florence Michel                                          *
                                      Plaintiff(s)       *
          vs.                                            *     Case No.: 8:20−cv−02205−PJM
                                                         *     Judge Peter J. Messitte
FMS Financial Solutions, LLC, et                         *
al.
9001 Edmonston Rd.                                       *
Suite 20
Greenbelt, MD 20770
                                      Defendant(s)       *
                                                       *****



                   STANDING ORDER CONCERNING REMOVAL


     IT IS HEREBY ORDERED that all parties removing actions to this court, shall, no
later than fourteen (14) days after filing a removal, file and serve a statement under the
case
and caption that sets forth the following information:
     1.    The date(s) on which each defendant was served with a copy of the summons
and complaint.
     2.    In actions predicated on diversity jurisdiction, an indication of whether any
defendants who have been served are citizens of Maryland, and, for any entity that is not a

corporation, the citizenship of all members.
     3.    If removal takes place more than thirty (30) days after any defendant was first
served with a copy of the summons and complaint, the reasons why removal has taken
place at this time and the date on which the defendant(s) was (were) first served
with a paper identifying the basis for such removal.

     4.    In actions removed to this court predicated on diversity jurisdiction in which
the action in state court was commenced more than one year before the date of removal,
the reasons why this action should not be summarily remanded to state court.
     5.    Identification of any defendant who was served in the state court action prior
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to the time of removal who did not formally join in the notice of removal and the reasons
why such defendant did not join.
      IT IS FURTHER ORDERED that all defendants to the action who joined in the
notice of removal shall file such statement within the time period set forth herein,
although the parties may file a joint statement so long as such statement is approved
by counsel for each party.
      IT IS FURTHER ORDERED that the removing defendant(s) shall serve a copy of
this Order on all other parties to the action who did not receive electronic notification of
the filing of this order no later than the time they file and serve a copy of the statement
required by this Order. Any party who learns at any time that any information provided in
the statement(s)filed pursuant to this Order is incorrect shall immediately notify the court
in writing to said effect.
      IT IS FURTHER ORDERED that within seven days from the date the notice of
removal is filed with this Court, the removing defendant(s) shall file a disclosure as
described in Local Rule 103.3 (D. Md.). All other parties shall file the disclosure
within seven days from the date a copy of this Order is served upon them.
      IT IS SO ORDERED.



Date: 7/31/2020                                     _____________/s/______________
                                                    Peter J. Messitte
                                                    United States District Judge
